
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1112                         CHURCH OF SCIENTOLOGY INTERNATIONAL,                                Plaintiff, Appellant,                                          v.                         UNITED STATES DEPARTMENT OF JUSTICE,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                 [Hon. A. David Mazzone, Senior U.S. District Judge]                                         __________________________                                 ____________________                                        Before                                 Selya, Circuit Judge,                                        _____________                      Coffin and Bownes, Senior Circuit Judges.                                         _____________________                                 ____________________            Kendrick L. Moxon for appellant.            _________________            George B.  Henderson, II, Assistant  United States Attorney,  with            ________________________        whom  Donald  K.  Stern, United  States  Attorney,  was  on brief  for              _________________        appellee.                                 ____________________                                    July 26, 1994                                 ____________________               COFFIN,  Senior  Circuit Judge.    The  plaintiff Church  of                        _____________________          Scientology International  brought this action under  the Freedom          of Information Act (FOIA),  5 U.S.C.   552, to  compel disclosure          of  documents held by the Department of Justice pertaining to the          Church and related entities.  The Department released about 1,000          pages  in full or in part,  but withheld more than 700 additional          pages based on various  FOIA exemptions.  The Church  objected to          both  the  breadth  of   the  Department's  internal  search  for          documents and  the number of  exemptions asserted.   The district          court granted summary  judgment for the  government.  On  appeal,          the  Church argues  that  the government  has  not satisfied  its          burden of  showing  that  no  further documents  are  subject  to          release,  and  that  the  court consequently  erred  in  granting          judgment  as a  matter of  law.   We affirm  part of  the court's          decision,  but  vacate  the  remainder  and  remand  for  further          proceedings.                                    I. Background                                       __________               In September  1988,  the Department's  Executive Office  for          United States Attorneys (EOUSA) received a FOIA request from  the          Church seeking all records located  in the U.S. Attorney's office          in Boston that concerned the Church, two related Church entities,          or  Scientology   in  general.    The   Church  particularly  was          interested in documents about a check fraud  scheme involving the          Church as a victim, and a later extortion plot against the Church                                         -2-          arising from the  fraud.1  In April 1990,  the EOUSA released 542          pages in full or in part, and informed the Church that additional          responsive material had been  withheld pursuant to specified FOIA          exemptions.   The government  also reported that  other documents          had  been referred to the agencies from which they had originated          for consideration of release.               The  Church  administratively   appealed,  challenging   the          adequacy of  the search and the  validity of the exemptions.   In          September  1992, having  received no  response, the  Church filed          this action.   The records concerning  the Church's request  were          then  reviewed by  a  special assistant  U.S. attorney,  Charlene          Stawicki, who concluded that the lapse of time since the original          search made it difficult  to ascertain how it was performed.  She          therefore  arranged a new search, the nature of which is detailed          fully in the district  court's opinion.  It suffices  to say here          that the search involved the use  of a comprehensive computerized          record-tracking system.               The new search led to the release of an additional 459 pages          in  full  and 14  pages  in part.    Two further  reviews  of the          documents, one  following the  Supreme  Court's clarification  of          FOIA law in United States Dep't of Justice v. Landano, 113 S. Ct.                      ______________________________    _______          2014 (1993), and  another based  on a new  policy statement  from                                        ____________________               1 The  Church asserts two primary purposes  for its document          request.   First, it believes that false reports about the Church          have   precipitated  FBI   harassment  of   Church   members  and          investigators, and Church officials therefore want to acquire any          such reports  so that the  information may be  corrected. Second,          the  Church wants to learn  why the government  did not prosecute          more than one individual in the check fraud scheme.                                         -3-          President  Clinton and  Attorney General  Reno,2 resulted  in the          release of approximately 75 more pages in full and 15 in part.               This succession of disclosures left about 744 pages withheld          in  full and approximately two dozen withheld in part.  The bases          for these  withholdings  were set  forth in  declarations by  two          Department attorneys,3  and in a  Vaughn index.4    The  index, a                                            ______          now standard tool conceived  by the District of  Columbia circuit          to  facilitate  resolution of  FOIA  disputes,  provides a  brief          description of each of the  191 withheld documents and identifies          the exemptions assertedly permitting their nondisclosure.               In ruling  on the government's motion  for summary judgment,          the  district   court  found  that   these  materials  adequately          justified both the scope of the search and the withholdings.  Its          decision can be broken down  into four separate conclusions:  (1)          the search itself was done reasonably, and the documents produced          fulfilled the government's obligation  under FOIA; (2) the Vaughn                                                                     ______          index  generally was sufficiently detailed to permit the court to                                        ____________________               2 The new  policy emphasized a  commitment to openness,  and          urged agencies to withhold  documents that technically might fall          within  an exemption  only when  "the agency  reasonably foresees          that disclosure would be harmful to an interest protected by that          exemption."               3 A  12-page declaration  was submitted  by John F.  Boseker          (the "Boseker Declaration"), an  attorney advisor with the EOUSA,          whose responsibilities include the  review of requests made under          FOIA and  the Privacy  Act,  5 U.S.C.    552a.    Bonnie L.  Gay,          attorney  in charge  of the  Executive Office's  FOIA/Privacy Act          Unit,   provided   supplemental   information   in   a   six-page          declaration.               4  The name of the  index is derived  from the seminal case,          Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973).          ______    _____                                         -4-          review the Department's  claims of exemption;  (3) the index  and          supporting  affidavits  specifically  supported   the  exemptions          claimed by  the Department to justify  withholding documents; and          (4)  discovery was unwarranted  because the  government's showing          was  adequate, and  discovery would  be unlikely  to result  in a          different  outcome  while placing  a  substantial  burden on  the          Department and the court.               The Church  now claims  that the district  court abused  its          discretion in  refusing discovery  and awarding  summary judgment          based on  the submitted declarations and  Vaughn index, asserting                                                    ______          that these items  were too  vague and conclusory  to support  the          exemption claims.  The  Church also challenges the reasonableness          of  the search  conducted by  the Department,  claiming  that the          search was too narrowly circumscribed.               Our review  of the  district court's determination  that the          government was entitled  to summary judgment  based on its  index          and affidavits  is de novo.  See Licari v. Ferruzzi, 22 F.3d 344,                             __ ____   ___ ______    ________          346-47  (1st Cir.  1994) (summary  judgment standard);  Wiener v.                                                                  ______          FBI, 943  F.2d 972,  978 (9th  Cir. 1991)  (FOIA standard).   Our          ___          discussion begins  with a  review of  general FOIA  standards and          principles.                          II. The Freedom of Information Act                              ______________________________               The  FOIA  requires  government  agencies  to  "make .  .  .          promptly  available"  to  any  person,   upon  request,  whatever          "records" the agency possesses unless those "records" fall within                                         -5-          any of nine listed exemptions.  5 U.S.C.   552(a)(3),  (b).5  The          statute's  basic purpose  is  "to ensure  an informed  citizenry,          vital to  the  functioning  of  a democratic  society,"  NLRB  v.                                                                   ____          Robbins Tire &amp; Rubber  Co., 437 U.S. 214, 242  (1978), or, stated          __________________________          more specifically, "`to open agency action to the light of public          scrutiny,'" Department  of Justice  v.  Reporters Committee,  489                      ______________________      ___________________          U.S. 749, 772 (1989)  (citation omitted).  The  policy underlying          FOIA is thus  one of  broad disclosure, and  the government  must          supply  any information  requested  by any  individual unless  it          determines  that  a   specific  exemption,  narrowly   construed,          applies.  Aronson v. IRS, 973 F.2d 962, 966 (1st Cir. 1992).  The                    _______    ___          government bears the burden of demonstrating the applicability of          a  claimed exemption, Maynard v.  CIA, 986 F.2d  547, 557-58 (1st                                _______     ___          Cir. 1993); In Re Department of Justice, 999 F.2d 1302, 1305 (8th                      ___________________________          Cir.  1993) (en banc), and  the district court  must determine de                                                                         __          novo whether the queried agency has met this burden, Aronson, 973          ____                                                 _______          F.2d at 966.               FOIA also provides for  partial disclosure of documents that          contain some exempted information, mandating that "all reasonably          segregable, non-exempt portions of any agency records must, after          deletion of the exempt  material, be disclosed to a  requester, 5          U.S.C.    552(b),"  Wightman  v. Bureau  of  Alcohol,  Tobacco  &amp;                              ________     ________________________________          Firearms,  755 F.2d  979, 983  (1st Cir.  1985).   In determining          ________          segregability, "courts must construe the exemptions narrowly with                                        ____________________               5   The  exemptions   protect,  inter   alia,  privacy   and                                               _____   ____          confidentiality interests, the secrecy of grand jury proceedings,          and matters covered by the attorney-client privilege.                                         -6-          the  emphasis on disclosure," id..   An agency  may withhold non-                                        ___          exempt information  only if it  "`is so interspersed  with exempt          material that separation by  the agency, and policing of  this by          the courts would impose an inordinate burden,'" Id. (quoting Lead                                                          ___          ____          Industries Ass'n  v. Occupational  Safety and Health  Admin., 610          ________________     _______________________________________          F.2d 70, 86 (2d Cir. 1979)).  See also Krikorian v. Department of                                        ___ ____ _________    _____________          State, 984 F.2d 461, 466 (D.C.  Cir. 1993) ("`non-exempt portions          _____          of  a document  must be  disclosed  unless they  are inextricably          intertwined with exempt portions'" (citation omitted)).               To  assure  the broadest  possible disclosure,  courts often          direct  a  government agency  seeking  to  withhold documents  to          supply  the opposing  party and  the court  with a  Vaughn index,                                                              ______          which  includes a general description  of each document sought by          the FOIA  requester and  explains the agency's  justification for          nondisclosure  of  each  individual  document  or  portion  of  a          document.  Maynard, 986 F.2d at  556-57; Vaughn, 484 F.2d at 823-                     _______                       ______          28.   Such  an  index  is viewed  as  necessary  to  protect  the          adversary  process  in  a FOIA  case,  in  which  only the  party          opposing disclosure will have  access to all the facts.   Wiener,                                                                    ______          943 F.2d  at 977; Vaughn, 484 F.2d at 823-28.  We previously have                            ______          identified a trio of functions served by the index:               [I]t  forces the  government to  analyze carefully  any               material  withheld,  it  enables  the  trial  court  to               fulfill its duty of ruling on the  applicability of the               exemption, and  it  enables  the  adversary  system  to               operate by giving the  requester as much information as               possible, on the basis of which he can present his case               to the trial court.                                         -7-          Maynard, 986 F.2d at 557 (quoting Keys v. United States Dept.  of          _______                           ____    _______________________          Justice,  830 F.2d 337, 349  (D.C. Cir. 1987)  (quoting Lykins v.          _______                                                 ______          United  States Dept. of Justice,  725 F.2d 1455,  1463 (D.C. Cir.          _______________________________          1984))).  See also In Re Department of Justice, 999 F.2d at 1305.                    ___ ____ ___________________________               Although FOIA's  primary thrust is to  promote openness, the          Supreme  Court also  has  recognized a  Congressional intent  "to          provide `workable rules' of FOIA disclosure," Landano, 113 S. Ct.                                                        _______          at 2023 (citing  cases).  To that end, the  Court has interpreted          the statute as permitting agencies to exempt certain records on a          categorical basis, rather  than requiring a  document-by-document          consideration.   In Reporters  Committee, for example,  the Court                              ____________________          concluded that criminal "rap sheet" information is  categorically          exempt from  disclosure because  the release of  such information          invariably constitutes an unwarranted  invasion of privacy.6  489          U.S. at  780.  The  Court has reached  a similar conclusion  with          respect to the  exemption of material  furnished by sources,  see                                                                        ___          Landano,   113  S.  Ct.  at  2022,  holding  that  "when  certain          _______          circumstances   characteristically   support   an  inference   of          confidentiality,"  the  Government   may  justify   nondisclosure          without  detailing  the  circumstances  surrounding  a particular          interview.7                                        ____________________               6  The  Court in  Reporters  Committee  was construing  FOIA                                 ____________________          Exemption  7(C),  which allows  the  Government  to withhold  law          enforcement   records  or  information  whose  production  "could          reasonably be  expected to constitute an  unwarranted invasion of          personal privacy," 5 U.S.C.   552(b)(7)(C).               7  Landano  concerned  Exemption  7(D),  which  permits  the                  _______          Government to withhold                                         -8-               FOIA's general  philosophy remains,  however, one  of "`full          agency disclosure,'" Aronson, 973 F.2d at 966 (quoting Department                               _______                           __________          of Air Force  v. Rose, 425 U.S. 352, 360  (1976) (quoting S. Rep.          ____________     ____          No.  813, 89th Cong., 1st  Sess. 3 (1965))),  and courts have the          obligation  to  interpret  its  reach "generously,  in  order  to          achieve  the FOIA's basic aim: sunlight," id..  See also Landano,                                                    ___   ___ ____ _______          113 F.2d at 2024.               What  usually  remains  unspoken,  but is  a  reality  often          affecting attitudes  and conduct  implementing FOIA, is  the very          considerable  burden laid  on both the  government and  the trial          court  in searching files  for multitudinous documents, analyzing          them, and justifying not  only any exclusion relied upon  but any          refusal  to  redact  and   segregate  the  disclosable  from  the          residually privileged.  This burden  often is exacerbated by  the          apparent  lack of any perceptible  public purpose on  the part of          the  requester.   In  such a  case,  already burdened  courts and          agencies  may  deem  FOIA's   dedication  to  the  importance  of          "sunlight" as unrealistic.  We thoroughly appreciate this kind of          tension.  We are dealing with a law that complicates  the task of          governing.   Yet, its goals are worthy, and we are bound to honor                                        ____________________               records or  information  compiled for  law  enforcement               purposes, but only to the extent that the production of               such law enforcement records or information . . . could               reasonably be  expected to  disclose the identity  of a               confidential source,  . .  . ,  and, in the  case of  a               record   or  information   compiled  by   criminal  law               enforcement  authority in  the  course  of  a  criminal               investigation  .  .  .  , information  furnished  by  a               confidential source.            552(b)(7)(D).                                         -9-          both its letter and its spirit.  Moreover, as in any "hard case,"          we must constantly remind ourselves that our decision establishes          principles that must be generally applicable -- both  to requests          that  seem merely annoying and to those that may reflect the most          vital  concerns  of  citizens.   Cf.  Senate  of  Puerto Rico  v.                                           ___  _______________________          Department of Justice, 823  F.2d 574, 587 (D.C. Cir.  1987) ("The          _____________________          costs must be borne . . . if the congressional policy embodied in          FOIA is to be well served.")                       III. Did the Government Meet Its Burden?                            ___________________________________          A. Adequacy of the Search             ______________________               When  the  Church submitted  its  request  for documents  in          September  1988, it triggered a responsibility on the part of the          Department of Justice to  do a reasonably thorough search  of its          records  and to turn  over all responsive  materials except those          for  which it could prove an exemption from disclosure.  Maynard,                                                                   _______          986 F.2d  at 559.   The Church  has two primary  complaints about          what  transpired.   First,  it claims  that  the search  was  too          narrow, and, consequently, that more responsive  documents should          have  been  found.   Second, it  claims  that the  Department has          failed to meet  its burden of  proving that all  of the  withheld          materials  are exempt from disclosure.   Like the district court,          the  parties break this issue  into three components:  (1) is the          index  generally  too  vague?  (2)  are  the specific  claims  of          exemption supportable?  (3) did the court abuse its discretion in          denying discovery?                                         -10-               We  readily can  dispose of  the  first issue.   As  we have          noted, the  adequacy of  an agency's  search for  documents under          FOIA is judged  by a  standard of reasonableness.   Maynard,  986                                                              _______          F.2d  at 559.    "The  crucial  issue  is  not  whether  relevant          documents  might  exist,  but  whether the  agency's  search  was          `reasonably  calculated to  discover  the requested  documents.'"          Id. (citation  omitted).  The district  court properly identified          ___          and applied  this  standard here,  finding  that the  search  was          adequate based on the details provided in the Stawicki affidavit.               Ms. Stawicki stated that she directed the second search  for          documents conducted after the Church  filed suit, that the search          was  conducted   through  a  computerized   record  system  whose          capabilities  she  described,  that  a  manual  search  would  be          impossible, and  that she personally searched  the computer files          for specific documents responsive  to the Church's request.   The          court found that this information, in the absence of any evidence          of bad  faith, was sufficient.   We  agree, and  thus affirm  its          conclusion.8               The Church's second complaint  is more compelling.  Although          implicitly   contending  that  the  government  has  withheld  an          excessive number of documents, the Church at this juncture really          is  making  a  more limited  argument.    It  maintains that  the          affidavits and  Vaughn  index were  too vague  and conclusory  to                          ______                                        ____________________               8  The  Church made  two  specific  arguments regarding  the          inadequacy  of the  Department's  search, neither  of which  were          raised before the district court.  We therefore need not,  and do          not, address  them here.  See  Watkins v. Ponte, 987  F.2d 27, 29                                    ___  _______    _____          (1st Cir. 1993).                                         -11-          permit it  or the  district  court meaningfully  to evaluate  the          Department's exemption  claims, and the Church  therefore asserts          that  it  was  entitled   to  more  information,  either  through          discovery or a  revised index, before the summary judgment motion          properly could be decided.          B. General Inadequacies of the Index and Affidavits             ________________________________________________               We  have  studied  carefully   the  affidavits  and   index,          considering separately each of the 191 entries, and are persuaded          that, with respect  to many documents, the  government has failed          to  support adequately  its  claim  of  exemption.9   Each  entry          contains  four types of information:  (1) the number  of pages in          the  document; (2)  a  brief description  of  the nature  of  the          document; (3) the content  of the withheld portions; and  (4) the          statutory exemption  numbers  claimed to  support  nondisclosure.          Document No. 4, for example, is entered in the index as follows:          [Pages]        [Description]        [Content/withheld   portions]          [Exemptions]          21   Typed AUSA notes  Attorney     work      product  b(5)               (undated)         document   marshalling   facts  b(7)(D)                                 and   sources  of  information  b(7)(C)                                 created  in  contemplation  of                                 litigation.    Confidentiality                                 referenced          throughout                                 document.    References  Third                                 Party Individuals  throughout.                                 (WIF [withheld in full])                                        ____________________               9 Some of these documents have been released  in whole or in          part  as a result of  the administration's openness  policy.  See                                                                        ___          supra  note 2.  The government identifies these documents as Nos.          _____          58, 63-66, 69, 71-73, 77-81, 84-86 and 88-90.                                         -12-               In  our view, the descriptions for many of the documents are          too  cursory to  permit debate,  or an  informed judgment,  about          whether they properly may be  withheld.  As with Document No.  4,          multiple exemption numbers are noted beside many entries, without          any correlation  between a particular exemption  and the sections          of the document to  which it relates.  Most  documents, including          lengthy  ones like No. 4, are withheld in their entirety, without          any reference to segregability.               The  declarations  submitted  with the  index  contain  only          general and conclusory assertions  concerning the documents.  For          example, with respect to documents claimed to be exempt under the          privacy provision, Exemption 7(C), see supra note 6,  the Boseker                                             ___ _____          declaration first describes the types of information to which the          exemption applies,10  and then  states categorically that  "there                                        ____________________               10  Paragraph 15 of the declaration states:                    This exemption  applies to withhold  identities of               and personal information about third party individuals,               release of which could subject such persons to unwanted               and  even unlawful  efforts to  gain further  access to               them  or  personal  information,  harassment  or  harm,               exposure  to unwanted  and/or derogatory  publicity and               inferences arising  from their connection to  the case,               all to their detriment.                    This exemption also applies to withhold identities               of  individuals  such  as  special  agents,  government               employees,  and local  law  enforcement  personnel  who               participated  in the  investigation and  prosecution of               the   referenced   cases.      Individual   duties  and               assignments are not public  and such publicity as would               likely arise from disclosure would seriously impede, if               not totally jeopardize law enforcement effectiveness in               subsequent cases, even  subjecting such individuals  to               harassment  or  harm.   These  persons  have  protected               privacy  interests in  the  conduct of  law enforcement               investigations.                                         -13-          was no public interest in the release of this information nor any          interest which  would counterbalance the individual's  privacy in          the information withheld under  this exemption."  The declaration          states that  each document  was evaluated for  segregability, and          that, where  a  document was  withheld  in its  entirety,  "EOUSA          determined  that  no  meaningful  portions  could  reasonably  be          released without destroying the  integrity of such document  as a          whole."                 The  Gay declaration  supports the  privacy withholdings  by          emphasizing  that  the Church's  reported  policy  of retribution          against  its  perceived  enemies   provided  the  basis  for  the          Department's  substantial concern  about protecting  the personal          privacy of government  employees and third  party contacts.   Gay          repeats   essentially   the   same   general   conclusion   about          segregability  offered  by  Boseker:  "There  are  no  segregable          portions which have  not been  released which  could be  released          without  creating  a substantial  risk of  disclosing information          protected from disclosure."               These declarations  are written too  generally to supplement          the index in any meaningful way.  They treat the documents within          various  exemption categories  as a  group, without  referring to          specific  documents,  and   make  broad  statements   essentially          explaining that the documents  were withheld because they contain          the type  of information  generally protected by  that particular          exemption.   The  statements regarding  segregability are  wholly          conclusory,  providing   no  information  that   would  enable  a                                         -14-          requester  to evaluate the agency's decisions.  Thus, none of the          functions  of the  index identified  in Maynard  are served:  the                                                  _______          declarations do not demonstrate careful analysis of each document          by the government; the court has not been assisted in its duty of          ruling  on the applicability  of an exemption;  and the adversary          system has not been visibly strengthened.  See supra p. 7.                                                      ___ _____               Although "[t]here is  no set  formula for  a Vaughn  index,"                                                            ______          Hinton  v.  Department of  Justice, 844  F.2d  126, 129  (3d Cir.          ______      ______________________          1988),  to  serve  its  purpose  the  listing  "`must  supply  "a          relatively detailed justification,  specifically identifying  the          reasons why  a particular  exemption is relevant  and correlating                                                                ___________          those claims with the  particular part of a withheld  document to          _________________________________________________________________          which they  apply,"'" Krikorian,  984 at 467  (citations omitted)          _________________     _________          (emphasis in original).  It is "the function, not the form, which          is  important,"  Hinton, 844  F.2d at  129,  and the  question is                           ______          whether  the particular  taxonomy  employed  "afford[s] the  FOIA          requester a  meaningful opportunity to contest,  and the district          court  an adequate  foundation to  review, the  soundness of  the          withholding," Wiener, 943 F.2d at 977-78.                        ______               The  lack of justification for withholding lengthy documents          in their entirety is  the most pervasive problem with  the index.          Upon encountering  similarly imprecise  indices, the  District of          Columbia Circuit recently noted, in words equally  apt here, that          the materials submitted                "[we]re written in terms of documents, not information,               but  `[t]he  focus  in  the FOIA  is  information,  not               documents, and an agency cannot justify withholding  an                                         -15-               entire document simply by showing that it contains some               exempt material.'"          Krikorian,  984  F.2d at  467 (citation  omitted).   We  think it          _________          fruitful   to  examine  closely  several  entries  as  a  way  of          demonstrating the index's deficiencies:               *  Document No. 5 is a  32-page declaration, with four pages          of  supporting  exhibits.    The  contents  column  contains  the          following information:               Individual  third party  declaration of  and concerning               relationship with  Church.   Not evidenced  as admitted               into court or on  public record, so deemed confidential               statement.  (WIF)          The entire document  is withheld pursuant to  Exemption 7(C), the          personal  privacy  exemption.    The  entry  fails,  however,  to          indicate why privacy concerns could not be met simply by deleting          identifying information.  Without some further elaboration of the          document's contents,  the Church is  unable to dispute  the claim          that no portion of the 36 pages is segregable.11               *Document No. 6 is  an 11-page affidavit from a  third party          containing the following information:                                        ____________________               11 The government states  in its brief with respect  to this          document  that  "the EOUSA  could  properly  determine that  even          partial disclosure  might well  allow plaintiffs to  identify the          declarant through the nature of  the information disclosed."  The          government unquestionably could make such a determination, but it          needs to provide more than this unsupported conclusion to justify          withholding the whole document.  Is the document full of personal          anecdotes, whose perspective would  tend to reveal the declarant,          thus supporting this  conclusion?   Or does  the document  simply          give one individual's description of the way the Church generally          treats  members, and thus arguably include material that could be          segregated from the identifying information?                                         -16-               Individual  third party affidavit concerning Church and               other matters.  Not evidenced as admitted into court or               on public record, so deemed confidential. (WIF)          The entire  document is withheld  pursuant to Exemption  7(C), as          well as under the  Privacy Act, 5 U.S.C.    552a(j)(2).12  Again,          no attention is  given to  segregability.  What  were the  "other          matters" described?   This  entry unquestionably fails  to supply          the Church with  enough information "`to  permit [it] to  present          its case effectively,'" Orion Research Inc. v. EPA, 615 F.2d 551,                                  ___________________    ___          553 (1st Cir. 1980)  (citation omitted),  the function  the index          was conceived to perform.                 *Document   No.  20  is   a  49-page  deposition  transcript          described as follows:               Transcript  of deposition  of  third  party  individual               taken by private  reporting service in Commonwealth  of               Mass.  (WIF)          The entire document is  withheld pursuant to Exemption 7(C),  yet          nothing  in the entry indicates why the privacy interest at stake          could   not   be  protected   simply  by   redacting  identifying          information.                                        ____________________               12 Section  (j)(2) exempts from mandatory disclosure records          maintained by an  agency that performs as its  principal function          any  activity pertaining  to  the enforcement  of criminal  laws.          Section (k)(2) of the Act similarly exempts certain investigatory          materials  compiled for  law enforcement  purposes in  other than          criminal matters.   Although the Boseker  Declaration states that          all of the relevant records in this case were exempt under one or          the  other of  the Privacy  Act provisions,  only certain  of the          entries include  (j)(2)  as a  justification  for  nondisclosure.          See, e.g.,  Document Nos. 6, 11,  13, 15-19, 43, 46,  53, 55, 56,          ___  ____          58, 60-62,  75, 76, 95,  109, 111, 115-121,  123, 125, 127,  146,          185, 187, 190, 191.                                          -17-               *Document No. 96 is  a six-page deposition summary, withheld          pursuant to Exemption 7(C), and described only as a "[s]ummary of          deposition of third party  individual."  Segregability once again          is not  addressed.  The entry  for Document No. 104,  also a six-          page deposition summary, is similarly deficient.               *Document No. 141 is a 29-page declaration withheld pursuant          to 7(C), described as follows:               Third party individual/source declaration.   Not public               record or waiver of confidentiality.  (WIF)          As  with other  entries, there  is no  explanation about  why the          deletion  of identifying  information would  not suffice  to meet          privacy concerns.               The district court concluded that the index, as supplemented          by the  Boseker and Gay declarations,  fulfilled the government's          obligation   to   supply   "reasoned   justification"   for   its          withholdings,  and it  noted  that the  Church  had presented  no          evidence suggesting bad faith in the government's response.   The          court observed  that the government had  supported the individual          withholdings  with  greater  specificity   than  this  court  had          ratified in Maynard.                      _______               In our view, however, the government's showing fell short of          providing  the  Church  with  a  "`meaningful opportunity,'"  see                                                                        ___          Wiener, 943 F.2d at 977, to challenge a substantial number of its          ______          unilateral  decisions to  withhold documents, thus  depriving the          district  court  of  "the controverting  illumination  that would          ordinarily accompany a request to review a lower  court's factual          determination,"  Vaughn, 484 F.2d at  825.  We  disagree with the                           ______                                         -18-          district  court  that  the  showing  exceeded  that  affirmed  in          Maynard.   In that case, see 986 F.2d at 557-59, the FBI produced          _______                  ___          the withheld  documents in redacted form,  withholding only those          portions  that  it claimed  were exempt.    Next to  each portion          withheld, the FBI provided a coded reference  to exemption claims          specifically identified  in a separately filed  declaration.  The          government also  provided copies of the  unredacted documents for          the court's in camera  review.  Unlike this case,  therefore, the                      __ ______          court in Maynard was able to perform a close review of individual                   _______          documents.               The  government  suggests  that,   in  the  absence  of  any          legitimate question  of good faith,  its repeated  review of  the          documents, each time  leading to a conclusion that no significant          non-exempt segments  could be released, is  sufficient to justify          its withholding  decisions and failure  to segregate.   It claims          that   the  only   meaningful  way   to  test   the  Department's          determinations would  have been  through in camera  review, which                                                   __ ______          the Church did not request.                 A lack of bad faith on  the part of the government, however,          does not relieve  it of its  obligation in the first  instance to          provide  enough information  to enable  the adversary  process to          operate in FOIA cases.  The presumption of good faith accorded to          agency affidavits, see Carney v.  Department of Justice, 19  F.3d                             ___ ______     _____________________          807,  812 (2d Cir. 1994),  petition for cert.  filed, 63 U.S.L.W.                                     _________________________          3009 (U.S. June  21, 1994)  (No. 93-2141); Maynard,  986 F.2d  at                                                     _______          560,  can only  be  applicable when  the  agency has  provided  a                                         -19-          reasonably  detailed  explanation   for  its  withholdings,   see                                                                        ___          Maynard, 986  F.2d at 560.   A court may not  without good reason          _______          second-guess  an  agency's   explanation,  but  it  also   cannot          discharge its  de novo review obligation  unless that explanation                         __ ____          is sufficiently specific.               Additionally, the  fact that the  Church did not  request in                                                                         __          camera review in no  way lessens the government's burden  to make          ______          an adequate showing.  FOIA provides  for in camera review, at the                                                   __ ______          district  court's discretion,  if  the court  finds the  agency's          materials in support of exemption to be too generalized.  See id.                                                                    ___ ___          at 557.  In other words, in camera review is a tool available  to                                   __ ______          a court when the government's showing otherwise is  inadequate to          satisfy  the  burden of  proving  the exempt  status  of withheld          documents.   Id.  at 557-58.   The  Church had  no obligation  to                       ___          request such a review.               We  emphasize that  the index  examples described  above are          merely illustrative, and that  numerous other entries suffer from          similar imprecision.  We by no means suggest, however, that every          entry  is vulnerable.    The  index  is notably  inadequate  with          respect  to lengthier  documents, where  the lack  of correlation          between  the  exemptions claimed  and  specific  portions of  the          document, and  the failure  to address segregability,  combine to          make the government's showing particularly vague.  In contrast, a          number  of documents  consist of  a single  page.   It  is fairly          inferable  from the entries  for many of  these that  there is no          meaningful segregable  non-exempt content, and we  see nothing to                                         -20-          be gained from requiring  more detail.  See, e.g.,  Document Nos.                                                  ___  ____          8, 9, 48, 56,  59, 127.  Similarly, where multiple exemptions are          claimed  for  these  short  documents, the  lack  of  correlation          typically is not a problem.               The government  makes two  points regarding the  adequacy of          its declarations  and Vaughn index that warrant response.  First,                                ______          it asserts that the degree of detail required in an index depends          upon  the nature  of the  documents at  issue and  the particular          exemption asserted.  We agree  that different approaches apply to          the  various  statutory  exemptions,  and  we  will  discuss  the          specific  exemptions  claimed  by  the  government  in  the  next          section.  At  this juncture,  we note simply  that a  categorical          approach to nondisclosure is permissible only when the government          can  establish  that,  in  every  case,  a   particular  type  of          information   may  be   withheld  regardless   of  the   specific          surrounding cirumstances.  See supra p. 8.                                     ___ _____               The  government  also  observes  that courts  have  approved          indices  with  less  detail  where   the  records  at  issue  are          voluminous, citing Meeropol v. Meese, 790 F.2d 942, 956-57  (D.C.                             ________    _____          Cir.   1986).     In  Meeropol,  government   agencies  retrieved                                ________          approximately 500,000 pages of records and released approximately          200,000 as a result  of what the court described as  perhaps "the          most demanding FOIA request  ever filed," id.  at 951.  Both  the                                                    ___          search and the methods  used to evalute the  search in that  case          were  extraordinary,  and,  in  our  view,  do  not  support  the                                         -21-          sufficiency  of  a sketchy  index in  this  case.13   Giving full          weight to the concern that the government should not be subjected          to  unrealistically   exhaustive  labors,  we   nevertheless  are          convinced  that  the task  of  reconsidering  the 191  documents,          adding meaningful  detail or explanation  where necessary,  would          not  pose an  unreasonable  burden on  the  government.   Indeed,          including  this information  at  the outset  would have  required          negligible incremental effort.               Moreover, even when generic  exemptions are appropriate, the          Supreme Court contemplates that the government provide meaningful          detail in support  of its  withholdings.  In  Landano, the  Court                                                        _______          rejected  the  government's  argument  that a  source  should  be          presumed  confidential  within  the  meaning  of  Exemption  7(D)          whenever the source provides information to the FBI in the course          of  a  criminal  investigation.    It  held,  however,  that  the          inference  could  be  supported  by reference  to  more  narrowly          defined  generic  circumstances.     For  example,  it  would  be          reasonable to  infer that  paid informants normally  expect their          cooperation with the FBI to be kept confidential.  Similarly, the                                        ____________________               13 The government's other  citation for this point, Weisberg                                                                   ________          v. Department of Justice,  745 F.2d 1476, 1483 (D.C.  Cir. 1984),             _____________________          also  involved a  tremendous search,  resulting in  disclosure of          approximately 60,000 pages of documents.   The district court  in          that  case ordered  preparation of  a Vaughn  index of  every two                                                ______          hundredth  page  of responsive  material,  a  supplement to  that          index,  and in camera submission of a number of documents wihheld                      __ ______          in  their entirety.   Id. at 1489-90.   The  circuit approved the                                ___          sampling  procedure because the number of  documents was so great          and  "it would not realistically  be possible to  review each and          every one."  Id. at 1490.                        ___                                         -22-          character of the  crime at issue or the  source's relation to the          crime could support such an inference.               It  is not  enough,  however, for  the government  simply to          state blandly that the source's relationship to the crime permits          an inference of confidentiality.   Rather, the government has  an          obligation to spell out that relationship:               [W]hen  a  document   containing  confidential   source               information is requested, it generally will be possible               to  establish factors such  as the nature  of the crime               that was investigated and  the source's relation to it.               Armed with this information,  the requester will have a               more  realistic opportunity to develop an argument that               the  circumstances  do  not  support  an  inference  of               confidentiality.          Landano, 113 S. Ct. at 2024.          _______               Of course, as the Court acknowledged in the next sentence of          this  passage from  Landano, the  government is  not expected  to                              _______          provide  so much detail in its supporting materials that it risks          compromising  the very interests it  is seeking to  protect.  The          agency may request  in camera  review as a  way of  demonstrating                              __ ______          that  no further  specificity should  be required,  and reviewing          courts should consider carefully whether such a  step is feasible          and  appropriate.   As much  as possible  should be  done openly,          however,  keeping  in  mind  the goal  of  advancing  adversarial          testing  of  agency  decisions.   See  Wiener,  943  F.2d at  979                                            ___  ______          ("Unless the  agency discloses  `as much information  as possible          without thwarting the [claimed]  exemption's purpose . . .  , the          adversarialprocessisunnecessarilycompromised."(citationomitted)).               We strongly believe that there are meaningful additions that          could   be  made  to  the  Vaughn  index  in  this  case  without                                     ______                                         -23-          jeopardizing  the interests at stake.  In the next section, which          discusses the  specific exemptions invoked by  the Department, we          note some particular suggestions for improvement.               C. Specific Exemptions                  ___________________               The Department invoked six different FOIA exemptions,  alone          or  in combination, in support  of its withholdings.   On appeal,          the  Church  does not  challenge the  government's use  of either          Exemption 2,  which protects from disclosure  information related          solely  to  the internal  personnel  rules  and practices  of  an          agency,  see 5  U.S.C.     552(b)(2),  or Exemption  7(F),  which                   ___          provides for  withholding  of law  enforcement  information  that          "could reasonably  be expected to  endanger the life  or physical          safety of any individual," 5 U.S.C.   552(b)(7)(F).               (1)  Exemption (b)(3)  and  Fed. R.  Crim.  P. 6(e).    FOIA                    ______________________________________________          Exemption 3,  5 U.S.C.    552(b)(3),  allows  the withholding  of          materials  that are  "specifically  exempted  from disclosure  by          statute .  . . ."  The parties agree that the Department properly          invoked  this provision  to  withhold grand  jury materials  made          exempt  from  disclosure by  Rule 6(e)  of  the Federal  Rules of          Criminal  Procedure.    See  Fund  for  Constitutional  Gov't  v.                                  ___  ________________________________          National Archives and Records Serv., 656 F.2d 856, 867 (D.C. Cir.          ___________________________________          1981).  The Church  complains, however, that it is  impossible to          determine from the Vaughn index and affidavits whether all of the                             ______          documents  for  which  the  Department  asserted  this  privilege          genuinely constitute "grand jury" material.                                         -24-               As  the  district court  recognized,  the  scope of  secrecy          afforded grand  jury materials  is "necessarily  broad."   Id. at                                                                     ___          869.               It encompasses not only  the direct revelation of grand               jury transcripts but also the disclosure of information               which  would reveal  "the  identities of  witnesses  or               jurors,  the substance  of testimony,  the strategy  or               direction  of the  investigation, the  deliberations or               questions of the jurors, and the like."          Id. (quoting SEC  v. Dresser  Indus., Inc., 628  F.2d 1368,  1382          ___          ___     _____________________          (D.C.  Cir. 1980)).  In addition, unlike actions under other FOIA          exemptions,   agency  decisions   to  withhold   materials  under          Exemption 3 are  entitled to  some deference.   We have  observed          that "once a court determines that the statute in  question is an          Exemption  3 statute, and that the information requested at least          arguably falls within  the statute, FOIA de  novo review normally                                                   __  ____          ends," Maynard, 986  F.2d at  554 (quoting Aronson,  973 F.2d  at                 _______                             _______          965, 967).               We  are  satisfied  that,  under  this  standard,  documents          identified  as  grand  jury  exhibits,  and  whose  contents  are          testimonial in  nature or otherwise directly  associated with the          grand   jury  process,   such   as   affidavits  and   deposition          transcripts, ordinarily may  be withheld simply  on the basis  of          their status as  exhibits.14  We distinguish such  materials from          business  records  or  similar  documents  "created  for purposes          independent of grand  jury investigations, which  have legitimate                                        ____________________               14 This  would include, inter  alia, document Nos.  2 (grand                                       _____  ____          jury list  of documents),  3 (exhibits list),  130-33, 142,  148,          153, 163, 172, 173, 181, 182, 184, 187, 188-90.                                         -25-          uses unrelated  to the substance of the  grand jury proceedings,"          United  States  v. Dynavac,  Inc., 6  F.3d  1407, 1412  (9th Cir.          ______________     ______________          1993).    Although  these  documents,  too,  may  be  subject  to          nondisclosure under Exemption  3 if they are grand jury exhibits,          the  government  needs to  provide some  basis  for a  claim that          releasing them  will implicate the secrecy  concerns protected by          Rule 6(e).15               The requirement  that the  government explain the  basis for          its conclusion that  Rule 6(e),  and thus Exemption  3, at  least          arguably  permits  withholding  of  certain documents  applies  a                                                                          _          fortiori to  materials not specifically identified  as grand jury          ________          exhibits, but which simply were located in grand jury files.   In          this  case, for example, Document  Nos. 164, 166-170, 174-180 and          183 are labelled as  "Grand Jury Materials," and most  were found          in  a  file  marked "Grand  Jury."16    There  is no  indication,                                        ____________________               15  We think  it reasonable  for an  agency to  withhold any          document containing  a  grand jury  exhibit  sticker or  that  is          otherwise  explicitly  identified on  its  face as  a  grand jury          exhibit, as release of such  documents reasonably could be viewed          as revealing the focus of the grand jury investigation.  See Fund                                                                   ___ ____          for Constitutional Gov't v.  National Archives and Records Serv.,          ________________________     ___________________________________          656  F.2d 856,  869  (D.C. Cir.  1981) (information  "identifying          documents considered by  the grand jury  . . .  falls within  the          broad reach of grand jury secrecy . . . .").  See, e.g., Document                                                        ___  ____          Nos. 35, 52.  Whether some portion of the document is segregable,          however, also needs to be considered and addressed.                 16 The inadequacy of the Vaughn index is well illustrated by                                        ______          the entries for Document  Nos. 178 and  179.  Both documents  are          identified  as one-page  declarations, with  20-page attachments.          No. 178  is described  as originating  "from  file marked  `Grand          Jury,'" while 179  is identified only as  "Grand Jury Materials."          Both are claimed exempt  under Exemption 3, as well  as Exemption          7(C),  but  no specifics  are  given as  to  the contents  of the          documents  and  whether  all,  or  only  part,  of  the  document          implicates privacy concerns.                                           -26-          however,  whether the  materials impermissibly  would reveal  the          inner workings  of the grand jury.  It cannot be that exposure to          the  grand  jury immunizes  information  from  future disclosure,          regardless of its  impact on the  interest underlying Rule  6(e).          See Senate  of Puerto Rico, 823 F.2d at  582 ("There is no per se          ___ ______________________                                 ___ __          rule against  disclosure of  any and  all  information which  has          reached  the grand jury chambers . .  . .").17  The government is          obligated to offer some support for its claim that release of the          sought-after documents would compromise  the secrecy of the grand          jury process.18               (2)  Exemption  (b)(5).    FOIA  Exemption  5,  5  U.S.C.                       _________________          552(b)(5), permits  withholding of "inter-agency  or intra-agency          memorandums  or letters which would not be  available by law to a          party other than an agency in litigation with  the agency."  This          exemption has been interpreted to encompass "those documents, and          only those documents, normally  privileged in the civil discovery          context," NLRB v. Sears, Roebuck &amp; Co., 421 U.S. 132, 149 (1975).                    ____    ____________________          Consistent with a change in policy by the Clinton Administration,                                        ____________________               17  Indeed, we suspect that  a number of  documents found in          grand  jury files  would not  be identifiable  as connected  to a          grand  jury proceeding  at  all because  they were  generated for          another purpose,  and presumably  would not be  labeled as  grand          jury material upon release.               18  We have  tried through  our approach  to the  grand jury          issue  to tread a path that honors the requester's entitlement to          an adequate and lawful  explanation for any withholding decision,          but  protects  the  government   from  unreasonable  burdens   in          justifying  nondisclosure.  The  government's obligation  thus is          minimal except for materials assertedly connected to a grand jury          investigation  that  bear  no  facial connection  to  grand  jury          proceedings.                                          -27-          the Department has since the time of the district court's opinion          released a number  of documents previously withheld  based on the          attorney-client  and  deliberative  process privileges,  and  now          invokes  Exemption  5  only  for  certain   documents  assertedly          protected by the attorney work-product privilege.               To  withhold  a  document   based  on  this  privilege,  the          Department must prove that it was prepared under the direction of          an attorney in contemplation of litigation.  See Senate of Puerto                                                       ___ ________________          Rico,  823 F.2d at 586;  Sprague v. Director,  Office of Workers'          ____                     _______    _____________________________          Comp. Programs, Etc., 688 F.2d 862, 869 (1st Cir. 1982).  And, as          ____________________          with all exemptions, it must offer some basis for concluding that          there are no segregable, nonexempt portions of the document.  The          district  court found  that  the Boseker  declaration and  Vaughn                                                                     ______          index justified  all  of the  Exemption  5 withholdings,  and  it          pointed to  Boseker's assertion  that the  records  to which  the          work-product privilege was applied reflect "such matters as trial          preparation,  trial  strategy,   interpretations,  and   personal          evaluations  and opinions  pertinent  to the  Church's and  other          third party individuals' civil and criminal cases."               The  court  specifically considered  Document  No. 4,  whose          entry in the Vaughn index we previously have quoted, see supra p.                       ______                                  ___ _____          12, and concluded that  the entry was sufficient to  validate the          Department's  decision  to  withhold the  entire  document  under          Exemption 5.   We do not agree.  For  purposes of this exemption,          the Vaughn index states only  that document No. 4 consists of  21              ______          pages of typed  attorney notes "marshalling facts and  sources of                                         -28-          information created in contemplation of litigation."  The Boseker          declaration adds to  this only generalized comments  about all of          the documents for which  the work-product privilege was asserted.          We  believe that, at a  minimum, an agency  seeking to withhold a          document in its entirety under  this exemption must identify  the          litigation  for which the document was created (either by name or          through  factual description)  and explain  why  the work-product          privilege applies to all portions of the document.               As presently written, the entry for document No. 4 indicates          that  at least  some of  the 21  pages of notes  involve material          covered by the attorney work-product privilege.  Because there is          no correlation  between the three claimed  exemptions (Nos. b(5),          b(7)(D), b(7)(C)) and specific portions of the document, however,          it  is not  clear  whether Exemption  5  is intended  to  justify          withholding of the entire document.  Moreover, the index does not          disclose  the  nature of  this  document:   Is  it a  draft  of a          pretrial memorandum?;  an internal  memorandum evaluating whether          to file  charges or  whom  to call  as  witnesses?; or  simply  a          summary of all information collected to date?  Neither the Church          nor the court is able to evaluate meaningfully whether all of the          factual material properly is  exempted from disclosure because it          is  integrated into the document  as part of  the attorney's pre-          trial  work, in which  event it appropriately  could be withheld,          see Mervin v. FTC, 591 F.2d 821, 826 (D.C. Cir. 1978), or whether          ___ ______    ___          the agency has overstepped  proper boundaries in determining what          constitutes a document prepared in anticipation of litigation.                                          -29-               In Mervin,  the majority  concluded that  further government                  ______          affidavits   or  in   camera   review  was   unnecessary  for   a                           __   ______          determination  of  segregability  because the  affidavit  already          submitted  demonstrated that  any  factual material  in the  four          documents at issue  there "is  incidental to and  bound up  with,          discussion  of litigation strategy and the deliberative processes          of  attorneys  actively preparing  their  defense  for a  pending          lawsuit."   Id.19  We  do not  believe such a  conclusion can  be                      ___          reached in this case  based on the information provided  thus far          for a number of documents claimed exempt under Exemption 5.  See,                                                                       ___          e.g., Document Nos.  4, 40 (74-page "prosecution  memo"), 76, 91,          ____          92 and 139.20   Certain other documents for which  the Department          has invoked Exemption  5 simply are  not adequately described  to          permit meaningful review of the withholding decision.  See, e.g.,                                                                 ___  ____          Document Nos. 105-109.21                                        ____________________               19  The  district court  in this  case  relied on  Mervin in                                                                  ______          upholding  the  Department's application  of Exemption  5, noting          that an attorney's affidavit sufficed there to prove that factual          material  contained within  the documents  fell within  the work-          product privilege.  Unlike the affidavit in  Mervin, however, the                                                       ______          affidavits here are not document-specific, and are thus much less          informative.               20 We note that factual material contained within a document          subject  to the  work  product privilege  often will  be embraced          within the privilege, and thus be exempt from disclosure.  See A.                                                                     ___ __          Michael's Piano, Inc.  v. FTC, 18 F.3d  138, 147 (2d Cir.  1994);          _____________________     ___          Martin  v. Office of Special  Counsel, MSPB, 819  F.2d 1181, 1186          ______     ________________________________          (D.C. Cir. 1987).               21  We  reiterate a  point made  earlier,  that the  lack of          specificity poses a particular  problem with respect to lengthier          documents.    Although  the  entries  for  a  number  of  shorter          documents suffer some of the same inadequacies -- notably lack of          correlation between  text and exemptions, and  failure to address          segregability  --   the  brevity  of  these  documents  makes  it                                         -30-               (3) Exemption  b(7)(C).   FOIA  exemption 7(C),  5 U.S.C.                      __________________          552(b)(7)(C),  exempts from  disclosure information  compiled for          law enforcement  purposes that  "could reasonably be  expected to          constitute  an unwarranted  invasion of  personal privacy."   The          Boseker and Gay declarations state that the  Department relied on          Exemption 7(C)  to withhold names and  other personal information          about  various  individuals,  including personnel  of  the United          States Attorney's Office and FBI agents, other federal, state and          local   government  personnel,   and  individuals   who  provided          information to the FBI or the USAO.               The parties agree that Exemption 7(C) requires balancing the          privacy  interests  at  issue  against  any  public  interest  in          disclosure, see Reporters Committee, 489 U.S. at 762, and further                      ___ ___________________          agree  that information identifying  specific individuals usually          may  be  withheld  because  of  these  individuals'  "significant          privacy interests  in not having their  names revealed," Maynard,                                                                   _______          986  F.2d at  566.    The  Church,  however,  contends  that  the          Department's  Vaughn index  repeatedly fails  to explain  why the                        ______          agency has  withheld an entire document rather  than releasing it          with the identifying information redacted.22                                          ____________________          reasonable to validate the government's withholding decision with          little  or  no additional  information.    For  example,  if  the          Department simply  identifies the prosecution  for which Document          No. 43 was prepared, no further details are necessary.  See also,                                                                  ___ ____          e.g., entries for Document Nos. 68, 70, 74, 93.           ____               22  In  its  brief,  the government  suggests  that  it  was          warranted  in  dispensing  with  the  item-by-item   detail  that          ordinarily is  necessary to  justify Exemption  7(C) withholdings          because   a  categorical   determination  to   withhold  personal          information  is  permissible in  the  absence  of a  demonstrated                                         -31-               We  have pointed  to just such  deficiencies in  our earlier          discussion of particular documents, see supra pp. 15-17, and need                                              ___ _____          not retread that  ground.  It suffices to say  at this point that          many  of the index entries  for documents assertedly exempt under          Exemption 7(C)  lack the  necessary specificity for  a meaningful          review  of the  agency's  decision  to  withhold  them  in  their          entirety.  The  district court  did not address  the Exemption  7          segregability issue.               (4)  Exemption b(7)(D).   FOIA  exemption 7(D),  5 U.S.C.                       _________________          552(b)(7)(D), protects from disclosure               records or  information  compiled for  law  enforcement               purposes . . .  [that] could reasonably be  expected to               disclose the  identity of a  confidential source .  . .               and, in the case of a record or information compiled by               criminal law  enforcement authority in the  course of a               criminal investigation . . . information furnished by a               confidential source.           The exemption protects the identity of a confidential source, any          information  that   could  identify   such  a  source,   and  all          information  furnished by such a source.   Irons v. FBI, 880 F.2d                                                     _____    ___          1446,  1447 (1st  Cir.  1989) (en  banc).   The  Supreme  Court's                                        ____________________          public  interest in that information.   We agree  that the Church          has not  put forward  a  public interest  in the  names or  other                                                    _____________          personal indentifying information that would  override the strong          privacy interest in such information contained in law enforcement          files, see Maynard, 986 F.2d at 566.  A categorical exclusion for                 ___ _______          identifying  information  therefore  is appropriate  here.    Cf.                                                                        ___          SafeCard Servs., Inc. v.  SEC, 926 F.2d 1197, 1205-06  (D.C. Cir.          _____________________     ___          1991).   This conclusion  does not  resolve the  Church's central          claim, however -- that the government failed to demonstrate on an          item-by-item basis  why documents should not be released with the          personal identifying  information redacted.  Cf.  Norwood v. FAA,                                                       ___  _______    ___          993  F.2d 570, 574-75 (6th Cir. 1993) (under privacy Exemption 6,          "excluding from  disclosure any and all  fragments of information          that might assist a diligent researcher in identifying a person .          . . is not supportable").                                         -32-          Landano  decision, 113  S.  Ct.  2014,  which we  have  described          _______          earlier, see  supra at pp.  8, 21-22, addressed  the government's                   ___  _____          contention  that  all  sources  supplying information  to  a  law          enforcement agency  during  a criminal  investigation  should  be          presumed  confidential within the  meaning of  Exemption 7.   The          Court  rejected this  broad  presumption, ruling  instead that  a          source properly is considered confidential only if there has been          an  express assurance  of  confidentiality or  if the  particular          circumstances support an inference  of confidentiality.  When the          factors  suggesting confidentiality  are present,  the government          may withhold  a document  under Exemption 7(D)  without detailing          the  circumstances surrounding  a particular  interview.   Id. at                                                                     ___          2023-24.               After the  Landano decision, the government re-evaluated all                          _______          of  the documents to which it had applied Exemption 7(D), deleted          that  provision  as a  basis  for withholding  39  documents, and          consequently released  an additional  20 pages of  information to          the Church.   The district  court found that  the remaining  7(D)          claims were  supported adequately  by  the Vaughn  index and  the                                                     ______          affidavits.               Our  review of  the  index, however,  reveals a  significant          number of  entries invoking Exemption 7(D)  that are insufficient          because  they  either  fail  to specify  whether  the  source was          provided an  express or implied  grant of confidentiality,  or do          not provide sufficient detail about the surrounding circumstances          to support an assertion of implied confidentiality.                                         -33-               Document  No. 51  in  the  Vaughn  index, for  example,  was                                          ______          withheld based  solely on Exemption  7(D).  The  full description          for the document is as follows:               Third party individual correspondence to AUSA regarding               draft  declaration of  third  party individual  witness               statements confidentially obtained.   Source identified               as confidential elsewhere.  (WIF)          The entry does  not indicate where in the  record this source was          identified as  confidential.  It  could have been  referring, for          example, to the immediately preceding entry, for Document No. 50.          That entry, however, concerns a 10-page cover letter and attached          letter described as follows:               Third party individual correspondence to AUSA regarding               attached handwritten  letter and notes  of third  party               source   of   information   gathered   in   course   of               investigation.    Implied  confidentiality  based  upon               source and relationship  to investigation.   Refers  to               not being at liberty to disclose source.  (WIF).               We do not believe it is sufficient, under Landano, to invoke                                                         _______          Exemption  7(D) by  stating  generally  that confidentiality  was          implied  from a relationship  between the author  of the document          and  the investigation.    The Supreme  Court's Landano  decision                                                          _______          clearly  contemplates that  a  claim of  implied  confidentiality          ordinarily will require disclosure of  the specific nature of the          factors urged in  support of the implication, such as the type of          crime or the source's relationship to it.  Only in  this way will          the  requester  have  a  "realistic opportunity"  to  develop  an          argument that  the circumstances do  not support an  inference of          confidentiality, see Landano, 113 S. Ct. at 2024.                           ___ _______                                         -34-               Thus, the government  must provide more  detail to meet  its          burden  of  demonstrating  that  Document  No.  50  falls  within          Exemption  7(D).23    Document   No.  51  is  obviously  likewise          deficient.   Similar problems  exist in other  entries, including          Nos.  55, 60, 62, 67,  70, 76, 92, 93,  94, 97, 112, 113, 122-23,          127  and 129.24  We agree  with the district court, however, that          an   investigator's  policy   of  affording   confidentiality  in          interviews is  an adequate  basis upon which  the government  may          consider  the  information provided  to  the  investigator to  be          confidential.   See, e.g.,  Document Nos. 7  and 19.   We suspect                          ___  ____          that, in such cases,  the government at the time of  the document          search rarely would be in a position to learn the precise  nature          of   any  discussion   concerning  confidentiality   between  the          investigator and interviewee.  We think it reasonable to presume,          based on the investigator's  policy, that he or she  had given an          assurance of confidentiality.                              IV. Where Do We Go From Here?                                _________________________               Our  conclusion that  the government  has failed  to provide          adequate support for withholding many of the 191 documents listed                                        ____________________               23  The government,  of  course, need  not  provide so  much          detail  that the confidentiality is destroyed.  It must, however,          explain  as specifically  as  possible  why providing  additional          information would  jeopardize the confidentiality  interest.   If          the  explanation  is  too  sketchy,  in  camera   review  may  be                                               __  ______          necessary.               24  We contrast  these entries  with those  containing facts          providing a rationale for  the inference of confidentiality, such          as No.  13 (author incarcerated); No.  100 (communication between          husband and wife); No. 101 (threats of harm and harassment); Nos.          102-03 (death threat), No. 120 (threatened harm)                                         -35-          in  the Vaughn index requires that we vacate the summary judgment                  ______          for the  agency and  return the  case to  the district court  for          further proceedings.               What precisely  should happen  upon remand  we leave to  the          district court's discretion.  We  offer a few thoughts,  however,          about what  occurs to us  as a logical and  appropriate course of          action.  The  court may wish  to begin by  asking the parties  to          submit a brief statement  identifying those documents it believes          need  further justification in light  of our decision.   Aided by          these,  the  court  could  make  its  own  determination  of  the          documents   needing  additional  review,   and  then  direct  the          government  to revise its submissions with  respect to only those          specific records.  Any dispute as to whether other entries should          be included could be raised at that time.               In  any such  proceeding,  we  assume  the  good  faith  and          reasonable  cooperation of the requesting party as well as of the          government.  Indeed, the workability of FOIA depends largely upon          the responsible, as well as responsive, efforts of the parties.               If, after  the government has given  additional attention to          the specified documents, the index remains opaque with respect to          certain documents and no other support is provided, the court has          various options  for  proceeding.   It  could  choose  to  permit          discovery limited to specified documents, it could  conduct an in                                                                         __                                         -36-          camera review of  selected documents, it  could order release  of          ______          somedocuments,or itcould directacombination ofthese procedures.25               We  recognize that  the  Department already  has provided  a          significant  amount of information to  the Church, and  we do not          minimize its  effort.   Its  obligation, however,  is to  provide          enough information  about  each  document  to  permit  "effective          advocacy" by the requester:               [T]he  [agency] must bear  in mind that  the purpose of               the  index is not merely to inform the requester of the               agency's  conclusion  that  a  particular  document  is               exempt  from  disclosure  under  one  or  more  of  the               statutory exemptions, but  to afford  the requester  an               opportunity  to intelligently  advocate release  of the               withheld   documents  and  to   afford  the   court  an               opportunity to intelligently judge the contest.          Senate of Puerto Rico, 823 F.2d at 979.          _____________________               The judgment of the district  court therefore is AFFIRMED as               ____________________________________________________________          to  the  adequacy  of the  search.    The  judgment is  otherwise          _________________________________________________________________                                        ____________________               25 The Church on  appeal has made  a broad challenge to  the          adequacy  of   the  government's  explanations   for  withholding          documents, and has not argued about the merits of the withholding          decisions for those documents for which the index and  affidavits          are  sufficiently detailed.    We likewise  have  focused on  the          general  adequacy of  the showing,  and have  not considered  the          merits of any particular withholding decision.  We note, however,          that many of the index entries appear to support nondisclosure of          the  documents, and we expect  that the district  court on remand          will  simply  reaffirm  its previous  determinations  that  those          documents are exempt from release.               We also have not considered the Church's contention that the          Department  improperly   referred  approximately  300   pages  of          material originating  from other  agencies to those  agencies for          processing.   The issue was not raised in the Church's opposition          to the motion for  summary judgment, and we therefore  decline to          consider it  here.  The district court may choose to take up this          matter on remand.                                          -37-          VACATED, and the case REMANDED for further proceedings consistent          _________________________________________________________________          with this decision.   No costs.          __________________    ________                                         -38-

